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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  4:03CR3128
                              )
          v.                  )
                              )
WENDY ESQUIVEL,               )                      ORDER
                              )
                Defendant.    )
______________________________)


           IT IS ORDERED that a hearing on plaintiff’s motion and

request for hearing pursuant to Rule 35(b) (Filing No. 45) is

scheduled for:
                 Friday, February 3, 2006, at 11 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       Defendant need not be

present.

           DATED this 26th day of January, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
